Case 1:22-cv-00259-VAC Document 1-2 Filed 02/28/22 Page 1 of 11 PageID #: 22




                              EXHIBIT B
                      Case 1:22-cv-00259-VAC Document 1-2 Filed 02/28/22 Page 2 of 11 PageID #: 23




      US6603330                                 Sonicwall Secure Mobile Access 1000 Series (“The Accused Product”)
25. A method of          The accused product discloses a method of programming a programmable digital circuit block (e.g., DDR 4 SDRAM).
programming a
programmable digital
circuit block,
comprising the steps of:




                        https://www.sonicwall.com/medialibrary/en/datasheet/secure-mobile-access-1000-series.pdf
Case 1:22-cv-00259-VAC Document 1-2 Filed 02/28/22 Page 3 of 11 PageID #: 24




  https://www.sonicwall.com/medialibrary/en/datasheet/secure-mobile-access-1000-series.pdf
Case 1:22-cv-00259-VAC Document 1-2 Filed 02/28/22 Page 4 of 11 PageID #: 25




  Source: DDR 4 standard
                            Case 1:22-cv-00259-VAC Document 1-2 Filed 02/28/22 Page 5 of 11 PageID #: 26




a) loading a plurality of     The accused product discloses loading a plurality of configuration data (e.g., bits A1, A0) corresponding to any one of
configuration data            a plurality of predetermined digital functions (e.g., read/write operations of fixed burst length of BC8 or BC4; read/write
corresponding to any          operations of on-the-fly burst length of BC8 or BC4) into a configuration register (e.g., Mode register MR0) of said
one of a plurality of         programmable digital circuit block (e.g., DDR 4 SDRAM).
predetermined digital
functions into a
configuration register
of said programmable
digital circuit block;
and


                              Source: DDR 4 standard
Case 1:22-cv-00259-VAC Document 1-2 Filed 02/28/22 Page 6 of 11 PageID #: 27




  Source: DDR 4 standard
                       Case 1:22-cv-00259-VAC Document 1-2 Filed 02/28/22 Page 7 of 11 PageID #: 28




b) configuring said        The accused product discloses configuring said programmable digital circuit block (e.g., DDR 4 SDRAM) to perform
programmable digital       any one of said plurality of predetermined digital functions (e.g., read/write operations of fixed burst length of BC8 or
circuit block to perform   BC4; read/write operations of on-the-fly burst length of BC8 or BC4) based on said configuration data (e.g., bits A1,
any one of said            A0), wherein said steps a) and b) are dynamically performed (e.g., on-the-fly BC is dynamically performed based on
plurality of               MRS command), and wherein said programmable digital circuit block includes a data register (e.g., register storing ) for
predetermined digital      storing data to facilitate performing any one of said plurality of predetermined digital functions.
functions based on said
configuration data,        The data is bit A12. It is used according to the configuration data MR0 [A1, A0] to facilitate performing any one of the
wherein said steps a)      predetermined digital functions. For instance, if MR0[A1, A0] indicates on-the-fly (OTF) burst length, then A12
and b) are dynamically     determines if the OTF burst length is BC4 or 8, and hence facilitates performing the read/write operations of OTF burst
performed, and wherein     length BC4 or 8.
said programmable
digital circuit block
includes a data register
for storing data to
facilitate performing
any one of said
plurality of
predetermined digital
functions.                 Source: DDR 4 standard
Case 1:22-cv-00259-VAC Document 1-2 Filed 02/28/22 Page 8 of 11 PageID #: 29




  Source: DDR 4 standard
Case 1:22-cv-00259-VAC Document 1-2 Filed 02/28/22 Page 9 of 11 PageID #: 30
Case 1:22-cv-00259-VAC Document 1-2 Filed 02/28/22 Page 10 of 11 PageID #: 31




  Source: DDR 4 standard




  Source: DDR 4 standard

  In the same manner that on-the-fly Burst Chop is configured and executed dynamically, the MRS can also be configured
  to dynamically execute on-the fly refresh rates as shown below.




  Source: DDR 4 standard
Case 1:22-cv-00259-VAC Document 1-2 Filed 02/28/22 Page 11 of 11 PageID #: 32




  Source: DDR 4 standard
